                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                         BIG STONE GAP DIVISION

  DEBRA COLLEY,                                  )
                                                 )
                    Plaintiff,                   )     Case No. 2:17CV00003
                                                 )
  v.                                             )     OPINION AND ORDER
                                                 )
  DICKENSON COUNTY SCHOOL                        )     By: James P. Jones
  BOARD, ET AL.,                                 )     United States District Judge
                                                 )
                    Defendants.                  )

        John P. Fishwick, Jr., and Monica L. Mroz, Fishwick & Associates PLC,
  Roanoke, Virginia, for Plaintiff; Jim H. Guynn, Jr., Guynn & Waddell, P.C.,
  Salem, Virginia, for Defendants Dickenson County School Board, Haydee
  Robinson, John Skeen, Don Raines, and R.E. Nickles; Johneal M. White, Glenn
  Robinson Cathey Memmer & Skaff, PLC, Roanoke, Virginia, for Defendants Susan
  Mullins and Rocky Barton.

        In this employment discrimination case by a former Virginia public school

  employee, the plaintiff asserts claims against the local school board, the school

  division superintendant, and the individual members of the board, based upon the

  federal Equal Pay Act, Title IX, and 42 U.S.C. § 1983, as well as breach of

  contract under state law. The defendants have filed motions for summary

  judgment, which have been fully briefed and argued. For the reasons that follow, I

  will deny the motions in part and grant them in part and allow the remainder of the

  case to proceed to jury trial.




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                                   I. BACKGROUND.

        The plaintiff, Debra Colley, was employed by the defendant Dickenson

  County School Board (the “School Board” or “Board”) from 2007 to her

  retirement in 2015, as one of the small group of supervisors in the school division’s

  Central Office, all reporting to the division’s superintendent of schools. In April of

  2015 Colley announced her intention to retire. Until that time, she believed that all

  Central Office supervisors received “around the same rate of pay.” Pl.’s Mem.

  Opp’n Mots. Summ. J. Ex. K 4, ECF No. 96-11. Shortly thereafter, after learning

  to the contrary, she complained to the School Board that her salary was “far less

  than other central office peers despite comparable supervisory duties, expectations,

  and experience in current roles,” and requested “redress of [her] financial

  suffering” through “correction of such an error or oversight.” Id. at Ex. FF, ECF

  No. 96-32. According to Colley, the Board members appeared unaware of the

  disparity, and “clearly surprised.” Id. at Ex. B, Colley Dep. 85, ECF No. 96-2.

  Certain members of the Board expressed interest in correcting any disparity, and

  the Board’s staff developed options for a financial settlement with Colley, which

  were discussed with her.      Eventually, however, the Board took no action on

  Colley’s request and she voluntarily retired as scheduled on July 31, 2015. This

  lawsuit was thereafter filed on March 7, 2017.




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         In her Amended Complaint, Colley sues the Board and all of its five

  members — Susan Mullins, Rocky Barton, John Skeen, Don Raines, and R.E.

  Nickles — as well as the division superintendent, Haydee Robinson, in their

  individual capacities.    She asserts four separate causes of action, all related to a

  disparity in her salary and the failure of the School Board to correct that disparity.

  Her law suit charges that the pay disparity resulted from the gender-motivated

  salaries of three male Central Office supervisors, Burl Mooney, Mark Mullins, and

  Mike Setser, as well as those of her male predecessor, Jimmy Smith, and her male

  replacement, Tony Robinson.1

         The court denied partial motions to dismiss filed by the defendants, Colley

  v. Dickenson Cty. Sch. Bd., No. 2:17CV00003, 2017 WL 4445985 (W.D. Va. Oct.

  5, 2017), and thereafter the parties engaged in extensive discovery. The defendants

  have now filed motions for summary judgment, which have been briefed and

  argued and are ripe for decision. 2




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          Subject-matter jurisdiction of this court exists pursuant to 28 U.S.C. § 1331 and
  28 U.S.C. § 1367.
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           Two of the Board members, Susan Mullins and Rocky Barton, are represented
  separately from the other defendants, and have filed a separate joint Motion for Summary
  Judgment. Mullins and Barton allegedly were in favor of compensating Colley when she
  brought her claim to the attention of the Board. Pl.’s Mem. Opp’n Mots. Summ. J. Ex. K
  8-9, ECF No. 96-11; Id. at Ex. I, Robinson Dep. 194, ECF No. 96-9. When referencing
  the defendants’ filings, I will cite those on behalf of Mullins and Barton as “Defs. Mullins
  & Barton,” and those filed on behalf of the other defendants simply as “Defs.”

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        Summary judgment is appropriate when there is no genuine issue of material

  fact, given the parties’ burdens of proof at trial. Fed. R. Civ. P. 56(a); Anderson

  v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). In determining whether the

  moving party has shown that there is no genuine issue of material fact, the court

  must assess the factual evidence and all inferences from such facts in the light most

  favorable to the non-moving party. See Ross v. Commc’ns Satellite Corp., 759

  F.2d 355, 364 (4th Cir. 1985), overruled on other grounds, Price Waterhouse v.

  Hopkins, 490 U.S. 228 (1989).

        Summary judgment is not a “disfavored procedural shortcut,” but an

  important mechanism for disposing of “claims and defenses [that] have no factual

  basis.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). It is the “affirmative

  obligation of the trial judge to prevent factually unsupported claims and defenses

  from proceeding to trial.” Drewitt v. Pratt, 999 F.2d 774, 778-79 (4th Cir. 1993)

  (internal quotation marks and citations omitted).

                              II. EQUAL PAY ACT CLAIM.

        In Count One of her Amended Complaint, Colley alleges a violation of the

  Equal Pay Act (“EPA”), 29 U.S.C. § 206(d), against the School Board. The EPA

  provides that

        No employer having employees subject to any provisions of this
        section shall discriminate, within any establishment in which such
        employees are employed, between employees on the basis of sex by
        paying wages to employees in such establishment at a rate less than

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         the rate at which he pays wages to employees of the opposite sex in
         such establishment for equal work on jobs the performance of which
         requires equal skill, effort, and responsibility, and which are
         performed under similar working conditions, except where such
         payment is made pursuant to (i) a seniority system; (ii) a merit system;
         (iii) a system which measures earnings by quantity or quality of
         production; or (iv) a differential based on any other factor other than
         sex[.]

  29 U.S.C. § 206(d)(1).

         A plaintiff bringing a claim under the EPA is not required to present

  evidence of sex discrimination above and beyond a prima facie case. Proof of

  discriminatory intent is not part of the plaintiff’s burden. See Fowler v. Land

  Mgmt. Groupe, Inc., 978 F.2d 158, 161-62 (4th Cir. 1992); Brewster v. Barnes,

  788 F.2d 985, 991 (4th Cir. 1986). In order to establish a prima facie case, Colley

  must demonstrate that the School Board paid a higher wage to a male “for equal

  work on jobs requiring equal skill, effort, and responsibility, which jobs . . . all are

  performed under similar working conditions.” EEOC v. Md. Ins. Admin., 879 F.3d

  114, 120 (4th Cir. 2018).     Although Colley seeks to compare herself to several

  men, “an EPA plaintiff is not required to demonstrate that males, as a class, are

  paid higher wages than females, as a class, but only that there is a discrimination in

  pay against an employee with respect to one employee of the opposite sex.” Id. at

  122.

          “The crucial finding on the equal work issue is whether the jobs to be

  compared have a ‘common core’ of tasks, i.e., whether a significant portion of the

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  two jobs is identical. The inquiry then turns to whether the differing or additional

  tasks make the work substantially different.” Brewster, 788 F.2d at 991 (citation

  omitted).   “Congress chose the word ‘equal’ over the word ‘comparable’ in order

  to show that the jobs involved should be virtually identical, that is . . . very much

  alike or closely related to each other.” Wheatley v. Wicomico Cty., 390 F.3d 328,

  333 (4th Cir. 2004) (internal quotation marks and citation omitted).

        On the other hand, it is said that “[i]n interpreting the EPA, [e]qual means

  substantially equal.” Id. at 332 (internal quotation marks and citations omitted).

  The standard does not depend on job classifications or titles, but on actual job

  requirements and performance. See id. at 332-33. “Granted, at a high level of

  abstraction these positions all require [the employees] to do the same thing —

  supervise, coordinate, and organize.       But the EPA demands more than a

  comparison of job functions from a bird’s eye view.” Id.

        Assuming that the evidence does establish a prima facie violation of the

  EPA, the burden of proof shifts to the employer to prove by a preponderance of the

  evidence that the pay disparity was due to (1) a seniority system, (2) a merit

  system, (3) a system pegging earnings to a quality or quantity of production, or (4)

  any factor other than sex. Brewster, 788 F.2d at 991-92. If the employer does not

  meet its burden of proof as to one or more these defenses, the jury must return a




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  verdict in favor of the plaintiff. Brinkley-Obu v. Hughes Training, Inc., 36 F.3d

  336, 344 (4th Cir. 1994).

         The School Board contends that it is entitled to summary judgment because

  Colley and male Central Office supervisors Mooney, Setser, and Mullins did not

  perform equal work. The School Board contends that Colley’s specific job

  functions were not substantially equal to the other Central Office supervisors.

  Colley was the Supervisor of Instruction. Her essential job duties revolved around

  the school system’s instructional programs, including curriculum planning and

  development, teacher evaluations, and textbook selection.       Mooney was the

  Supervisor for Transportation and Maintenance.      His responsibilities included

  supervision of maintenance employees and school bus drivers, planning bus routes,

  establishing custodial and security requirements for each school building, and

  overseeing all major repairs and construction projects. Setser was Supervisor of

  Compliance, Attendance and Alternative Education.        He tracked attendance,

  handled discrimination and harassment complaints, alternative education programs,

  and appeared in court in truant and misbehaving student cases. Mullins was the

  Supervisor of Special Programs, such as testing, licensure, and overseeing federal

  and state programs. He was also the superintendent designee, standing in for the

  superintendent in her absence. While Setser’s and Mullins’ duties may have had




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  more relation to Colley’s than Mooney’s, the defendants contend that their central

  responsibilities in the school system substantially differed from those of Colley.

         In response, Colley claims that all of the Central Office supervisors shared

  “a common core of tasks,” which included reporting to the division superintendent,

  serving on committees, overseeing division programs, participating in hiring

  decisions, purchasing responsibilities, and communicating with parents and the

  School Board. Pl.’s Mem. Opp’n Mots. Summ. J. 28, ECF No. 96.

            The School Board asserts that the Central Office supervisors were paid

  “based on a seniority system” in the form of a “central office supervisor salary

  scale.” Defs.’ Mem. Supp. Mot. Summ J. 12, ECF No. 92. Accordingly, it argues

  that the other supervisors “were paid more than [Colley] in accordance with their

  additional years of seniority,” and Colley “simply never caught up” to the other

  supervisors because they “had four years ascending up the scale prior to [her]

  arrival.” Id. at 12-13. At the time of Colley’s retirement, the annual salaries in the

  Central Office, in ascending order of date of hire in that office, were as follows:

                                                     Central Office       Salary
                    Name               Gender
                                                      Start Date         7/31/15
            John Carpenter 3            male           5/1/2008          $68,848

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             Colley contends that Carpenter, as Business/Finance Director, was not
  comparable to her because he never held an educator’s license and his employment
  contract called him a “director” and not a “supervisor,” unlike other Central Office staff.
  Pl.’s Mem. Opp’n Mots. Summ. J. 9 n.4, ECF No. 96. However, the record indicates that
  the titles “supervisor” and “director” were used interchangeably. Id. at Ex. R, ECF No.
  96-18 (use of “director” in organizational charts).

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          Debra Colley              female        7/9/2007        $71,300
          Denechia Edwards          female        8/1/2005        $78,876
          Mike Setser                male         12/1/2003       $82,017
          Burl Mooney                male         9/1/2003        $83,637
          Mark Mullins               male         8/1/2003        $82,017

  Pl.s’ Mem. Opp’n Mots. Summ. J. Ex. M, ECF No. 96-13.

         The School Board further contends that a comparison of Colley’s salary at

  the time of her hire and those of Mooney, Mullins, and Setser demonstrates that

  she was treated in a substantially equal manner. Colley’s starting salary was

  $59,056 and Mooney’s starting salary was $59,293. Mullins’ and Setser’s starting

  salaries were $55,400 and $44,462 respectively. In response, Colley argues that

  the School Board cannot prove a valid affirmative defense, because they are

  required to establish that the alleged seniority system “in fact motivated the

  [School Board’s] decision” to pay her less. EEOC v. Md. Ins. Admin., 879 F.3d at

  120 n.7. This burden “necessarily is a heavy one.” Id.

         Colley also contends that the alleged seniority system was ambiguous and

  inconsistently applied. In order to pass muster under the EPA, a pay system that

  relies on length of service “must be able to identify standards for measuring

  seniority which are systematically applied and observed.” Irby v. Bittick, 44 F.3d

  949, 954 (11th Cir. 1995). Superintendant Robinson was uncertain whether the

  alleged seniority system relied upon service in the Central Office or service with

  the Dickenson County school system. In her deposition, she first indicated that it


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   was years in the Central Office,      Pl.’s Mem. Opp’n Mots. Summ. J. Ex. I,

   Robinson Dep. 104-05, ECF No. 96-9, but then testified that that she did not know,

   Id. at 105, 108.4 In any event, Colley contends she had equivalent seniority.

   Colley had been a classroom teacher for 23 years, 16 of which were in Dickenson

   County, and for six years and a half years prior to her appointment as a Central

   Office supervisor, had been the program coordinator for the Southwest Virginia

   Education and Training Network, an organization providing student learning and

   teacher professional development by interactive television (“ITV”).          In that

   position, she was responsible for the ITV curriculum and instruction and trained

   teachers in the region’s school divisions, including Dickenson County.

         Moreover, while Mooney, Mullins, and Setser all came to the Central Office

   in 2003 at approximately the same salary, in the 2006-2007 school year, Mullins

   and Setser got a larger percentage raise then Mooney. In turn, for the 2008-2009

   school year, Mooney received a salary increase larger than Mullins and Setser,

   allegedly because of a “mistake in years and experience,” Id. at 122, although no

   details of that mistake appear in the record and Mooney himself testified that he

   never requested a raise, Pl.’s Mem. Opp’n Mots. Summ. J. Ex. DD, Mooney Dep. 45,

   ECF No. 96-30. In contrast, Colley sought a raise from Superintendent Robinson in

   2009 or 2010, but she was told that there was “a very difficult budget,” and nothing

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             Robinson did not become superintendent until March of 2009 and thus was not
   in office when Colley was hired.

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   was done.     Robinson Dep. 89, ECF No. 96-9.         In 2017, after Colley retired,

   Denechia Edwards, one of the Central Office supervisors, asked for an increase in

   her salary and it was made equal to that paid to Setser and Mullins.

           In addition, while no pay increases were given to anyone in the school years

   beginning in 2009 and ending in 2012, beginning in the 2012-2013 school year, the

   Central Office supervisors were all given the same percentage increase, thus

   magnifying the dollar disparity between Colley’s salary and the highest male

   salary. 5

          Colley also presents evidence that there was in fact no meaningful salary

   scale, as contended by the School Board. The so-called salary scale was simply “a

   list of what the current members of the staff made.” Colley Dep. 46, ECF No. 96-

   2.   In other words, “What was presented as a salary scale for central office

   supervisors never had distinctive steps, it was specific to the people holding those

   positions.” Id. at 50.

          Colley also argues that she has established a prima facie case under the EPA

   because she was paid less than her male predecessor, Jimmy Smith. See 29 C.F.R.

   § 1620.13(b)(2) (“[W]here an employee of one sex is hired or assigned to a

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           Colley’s salary in the 2009-2010 school year was $66,056, and the highest male
   Central Office salary was $77,485, a difference of $11,429. After three years of across-
   the-board equal percentage increases, Colley’s last salary was $71,300, and the highest
   male salary at the time was $83,637, a difference of $12,337. Pl.’s Mem. Opp’n Mots.
   Summ. J. Ex. M, ECF No. 96-13.


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   particular job to replace an employee of the opposite sex but receives a lower rate

   of pay than the person replaced, a prima facie violation of the EPA exists.”); Cty.

   of Washington v. Gunther, 452 U.S. 161, 179 n.19 (1981) (noting that EPA

   “provides an action for sex-based wage discrimination by women who hold jobs

   not currently held by men.).

         Smith was being paid $72,553 at the end of his tenure when he was replaced

   by Colley. Colley’s starting salary was $59,056. The School Board contends that

   this differential between Colley and Smith was based solely upon the alleged

   seniority system, by which employees only progressed in salary based upon the

   length of time in their positions.

         In addition to her predecessor, an EPA plaintiff may use her successor as a

   comparable. Brinkley-Obu, 36 F.3d at 348. After Colley retired, she was replaced

   in the same job by a male, Tony Robinson, who received a starting annual salary of

   $74,699, higher than Colley’s final salary of $71,300, after eight years in her

   position. Robinson was a current Dickenson County school principal, and the

   School Board defends on the ground that he did not want to take the Central Office

   job if he was required to take a salary reduction.6 This argument implicates the

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             As explained by the Superintendent Robinson, “I don’t think that Mr. Robinson
   said that he would like to keep his salary as much as that he could – it would be difficult
   for him to take a less salary . . . . and come to the Central Office. He was at the school,
   making this salary, coming to a central office – much more responsibility for less salary.”
   Robinson Dep. 51, ECF No. 96-9.


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   “any other factor other than sex” defense permitted by 29 U.S.C. § 206(d)(1)(iv).

   This factor must have been one adopted for a legitimate business purpose. EEOC

   v. J.C. Penney Co., 843 F.2d 249, 253 (6th Cir. 1988).

         I find based upon the summary judgment record that Colley has failed to

   show sufficient evidence that she performed equal work compared to Mooney,

   Setser, or Mullins and thus has not established a prima facie case under the EPA as

   a matter of law as to those alleged comparables. However, I do find that she has

   presented sufficient evidence to prove a prima facie case as to her predecessor

   Smith and her successor Robinson. The plaintiff performed equal work as those

   persons but was paid a lesser salary. The burden of proof being thus shifted to the

   School Board to prove one of the statutory defenses, I find that there are genuine

   issues of material fact as to those defenses precluding summary judgment for the

   School Board. The jury must decide whether the alleged seniority system operated

   to insulate the School Board from paying Colley a comparable amount to that

   received by Smith for performing the same job that she was hired to perform.

          As to Colley’s successor, the jury must determine whether Robinson’s prior

   salary justified paying him a starting salary not comparable to that which Colley

   received when she started the same job. Robinson was not required to transfer to

   this different job, where a retention of his former salary might have been justified.

   Nor was there evidence that Robinson was the only available qualified candidate



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   for Colley’s job, thus leaving the School Board with no choice but to pay him the

   higher salary.

                                   III. TITLE IX CLAIM.

         Colley asserts a discrimination claim in Count Two against the School Board

   under Title IX of the Educational Amendments of 1972 (“Title IX”), 20 U.S.C. §

   1681(a), which provides that “[n]o person in the United States shall, on the basis of

   sex, be excluded from participation in, be denied the benefits of, or be subjected to

   discrimination under any education program or activity receiving Federal financial

   assistance.” Claims of discrimination in employment under Title IX are evaluated

   borrowing from the framework of Title VII of the Civil Rights Act of 1964.

   Preston v. Va. ex rel. New River Cmty. Coll., 31 F.3d 203, 207 (4th Cir. 1994).

         Absent direct evidence of discriminatory intent, and utilizing the familiar

   procedure announced in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-05

   (1973), the plaintiff may avoid summary judgment by choosing to put forth a

   prima facie case of discrimination by establishing that: (1) she is a member of a

   protected class; (2) she “suffered an adverse employment action”; (3) her job

   performance was satisfactory; and (4) the adverse employment action occurred

   “under circumstances giving rise to an inference of unlawful discrimination.”

   Adams v. Trs. of Univ. of N.C.-Wilmington, 640 F.3d 550, 558 (4th Cir. 2011). The

   fourth element is met if “similarly-situated employees outside the protected class



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   received more favorable treatment.” White v. BFI Waste Servs., LLC, 375 F.3d

   288, 295 (4th Cir. 2004). Indeed, so-called comparator evidence is “especially

   relevant to a showing of pretext,” even though it may not be the final answer in the

   case. Laing v. Fed. Express Corp., 703 F.3d 713, 719 (4th Cir. 2013) (internal

   quotation marks omitted).

         Once the plaintiff establishes her prima facie case, the defendant must

   respond with evidence that they acted with a legitimate, non-discriminatory reason.

   St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993). If the defendants make

   this showing, the plaintiff must then present evidence to prove that the defendants’

   articulated reason was pretext for unlawful discrimination.           Id. at 507-08.

   However, the ultimate burden of proving intentional discrimination remains with

   the plaintiff. Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981).7

         For the reasons as explained in connection with the plaintiff’s EPA claim, I

   find that Colley has shown a successful prima facie case of discrimination and has

   rebutted the School Board’s articulated reason for disparate treatment.

   Accordingly, I find there are issues of genuine material fact as to whether the

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             A plaintiff is not required to rely upon the McDonald Douglas burden-shifting
   process, and may survive summary judgment by showing that there is a genuine issue of
   material fact as to whether the employer’s action was motivated at least in part by an
   unlawful factor, even if it was not the sole factor. See Diamond v. Colonial Life &
   Accident Ins. Co., 416 F.3d 310, 317-19 (4th Cir. 2005) (explaining summary judgment
   burden in mixed-motive discrimination cases). In the present case, Colley relies upon
   both methods, but in light of my decision, it makes no difference.


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   School Board engaged in unlawful gender discrimination with respect to Colley’s

   salary. Accordingly, I will deny summary judgment as to this claim.

                               IV. EQUAL PROTECTION CLAIM.

         In Count Three, Colley alleges a constitutional claim against all of the

   defendants under 42 U.S.C. § 1983, based upon the Equal Protection Clause of the

   Fourteenth Amendment.8          It is established that “the equal protection clause

   confers on a public employee a federal constitutional right to be free from gender

   discrimination.” Beardsley v. Webb, 30 F.3d 524, 530 (4th Cir. 1994). To prove

   her claim, Colley must establish that (1) the defendants acted under color of state

   law; (2) that she has been treated differently from others with whom she is

   similarly situated; and (3) that the unequal treatment was the result of intentional or

   purposeful discrimination. Morrison v. Garraghty, 239 F.3d 648, 654 (4th Cir.

   2001).

         Section 1983 claims involving employee discrimination may be considered

   using the McDonnell Douglas evidence-shifting process employed under Title VII,

   including where, as here, there is no direct evidence of intentional gender

   discrimination. See Love-Lane v. Martin, 355 F.3d 766, 786 (4th Cir. 2004). Even

   assuming that as to the individual defendants the plaintiff has met her burden under


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            “[N]or shall any State deprive any person of life, liberty, or property, without
   due process of law; nor deny any person within its jurisdiction the equal protection of the
   laws.” U.S. Const. amend. XIV, § 1.

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   the McDonnell Douglas framework, I find that the § 1983 claim against them is

   barred by their qualified immunity.

         Persons sued in their individual capacity under § 1983 are clothed with

   qualified immunity.      “Generally, qualified immunity operates to protect . . .

   government officials from civil damages liability for alleged constitutional

   violations stemming from their discretionary functions.” Raub v. Campbell, 785

   F.3d 876, 880-81 (4th Cir. 2015). The protection extends to “all but the plainly

   incompetent or those who knowingly violate the law.”               Id. at 881 (citation

   omitted). As courts have repeated emphasized, “[o]fficials are not liable for bad

   guesses in gray areas; they are liable for transgressing bright lines.” Id. (citations

   omitted).

         Qualified immunity analysis typically involves two inquiries: (1) whether

   the plaintiff has established the violation of a constitutional right, and (2) whether

   that right was clearly established at the time of the alleged violation. However, the

   court need not reach both prongs of the analysis. Rather, it may address these two

   questions in “the order . . . that will best facilitate the fair and efficient disposition

   of each case.” Id. (citation omitted).

         In determining whether the right was clearly established, “courts must not

   define clearly established law at a high level of generality,” but must instead

   “examine whether the violative nature of [the defendants’] particular conduct is



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   clearly established . . . in light of the specific context of the case, not as a broad

   general proposition.” E.W. v. Dolgos, 884 F.3d 172, 185 (4th Cir. 2018) (internal

   quotation marks and citations omitted).

         I find that the individual defendants — the Board members and

   Superintendent Robinson — are entitled to qualified immunity and judgment must

   be entered in their favor.9 While there is a strong argument that no constitutional

   right has been shown by the plaintiff, I find that any such constitutional right, even

   if proved, was not clearly established under the specific factual circumstances of

   this case. The case law from the Supreme Court and the Fourth Circuit provides

   notice of whether a right is clearly established. Hill v. Crum, 727 F.3d 312, 322

   (4th Cir. 2013). While there need not be “a case on all fours with the facts at

   hand,” Hunter v. Town of Mocksville, 789 F.3d 389, 401 (4th Cir. 2015), I do not

   find that any pre-existing precedent made apparent to these defendants that their

   conduct violated constitutional law.      The undisputed facts are that the Board

   members did not know of the disparity in salaries, although they annually approved

   a total figure for those salaries. Superintendent Robinson understood that salaries

   were based on the length of service, be it service in the Central Office or with the

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             It should be noted that while defendants Mullins and Barton raised qualified
   immunity in their joint answer, Mullins & Barton Answer ¶ 34, ECF No. 31, they did not
   argue it in their Motion for Summary Judgment. However, particularly since it was
   properly presented by their codefendants and the plaintiff thus suffered no prejudice, I
   will consider it sua sponte as to these defendants. See Ridpath v. Bd. of Governors
   Marshall Univ., 447 F.3d 292, 305-06 (4th Cir. 2006).

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   school system.    The plaintiff never brought to the defendants’ attention that she

   was the victim of gender discrimination.        When she asked for a raise from

   Superintendent Robinson, it was based on her concern that some school principals

   were making more money than the supervisors in the Central Office. Pl.’s Mem.

   Opp’n Mots. Summ. J. Ex. C 4, ECF No. 96-3.

         The School Board as a governmental unit is also sued by Colley under §

   1983, based upon the claimed violation of the Equal Protection Clause.

   Respondeat superior may not serve as a basis for imposing municipal liability

   under § 1983. Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978). “It is only

   when the execution of the government’s policy or custom . . . inflicts the injury

   that the municipality may be held liable under § 1983.” City of Canton v. Harris,

   489 U.S. 378, 385 (1989) (internal quotation marks and citations omitted).

         To prevail on a municipal liability claim under § 1983, a plaintiff “must

   point to a persistent and widespread practice of municipal officials, the duration

   and frequent of which indicate that policymakers (1) had actual or constructive

   knowledge of the conduct, and (2) failed to correct it due to their deliberate

   indifference.” Owens v. Balt. City State’s Attorneys Office, 767 F.3d 379, 402 (4th

   Cir. 2014) (internal quotation marks, alteration, and citation omitted).

          While Colley asserts in her brief that the Dickenson County Public Schools

   “had a culture of protecting male employees and rewarding them with supervisor



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   positions and generous salaries,” Pl.’s Mem. Opp’n Mots. Summ. J. 35, ECF No.

   96, this conclusory allegation is not supported by the facts of record. Of the five

   educators serving in the Central Office during Colley’s employment, three were

   men and two were women and the chief administrator of the school system,

   Superintendent Robinson, was a woman.

         Even though the evidence shows that the Board members did not know of

   salary disparity in the Central Office, and were surprised to learn of it when Colley

   brought it to their attention, Colley argues that they had constructive knowledge of

   it because they were charged by state law with operating the public school system

   in Dickenson County. 10 But what they would have learned, had they inquired, was

   that those supervisors who had served the longest, received more money, based

   upon periodic annual increases. While there were serious inconsistencies in the

   system as I have previously described, they are not the requisite “widespread or

   flagrant violations” as to give rise to municipal liability under § 1983. Owens, 767

   F.3d at 403.11 Accordingly, I find that Colley has failed to show a genuine issue of

   material fact as to the School Board’s liability under §1983.


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              Colley also speculates that the Board members might have learned of the
   disparity in Central Office salaries because those salaries were published in a local
   newspaper. But Colley herself admits that she did not know of the disparity until she
   decided to retire, eight years after she began her job.
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            The School Board also pled “governmental immunity,” Answer ¶ 24, ECF No.
   15, although it did not raise it in its Motion for Summary Judgment. Eleventh

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         The defendants’ motions for summary judgment as to the § 1983 claim will

   be granted.

                            V. BREACH OF CONTRACT CLAIM.

         Colley asserts in Count Four a pendant Virginia common law breach of

   contract claim, alleging that the School Board breached an agreement to

   compensate her for her monetary loss on account of her salary disparity.

         In May of 2015, following Colley’s appearance before the Board to present

   her salary concerns, she met with Superintendent Robinson and Reba McCowan,

   the Clerk of the Board, to discuss a solution. Robinson inquired if all she wanted

   was her retirement corrected. Colley replied, “I cannot tell you that that’s the only

   thing I want, but that’s certainly my number one priority.” Colley Dep. 87, ECF

   No. 96-2. She stated “over and over again” that “the most important thing to me is

   the correction of the VRS [Virginia Retirement System] because that’s something

   that’s going to affect me from here until I die.” Id. at 90. She could not recall if

   she had told Robinson that she “would accept payment of the VRS and that that

   would be the end of it.” Id.




   Amendment immunity is not a “true limit” on the court’s subject-matter jurisdiction,
   Roach v. W. Va. Reg’l Jail & Corr. Facility Auth., 74 F.3d 46, 48 (4th Cir. 1996), and
   because it has not been argued, I need not decide whether it insulates Virginia’s local
   school boards from suit under § 1983. There are strong augments that it does not.
   Drewrey v. Portsmouth City Sch. Bd., 264 F. Supp. 3d 724, 728-731 (E.D. Va. 2017).


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          After that meeting, the clerk produced written calculations for two possible

   options. One option increased the last three years of Colley’s salary, which would

   have had the effect of enhancing her VRS retirement benefits because they were

   based on an employee’s three highest salary years. The other option provided for a

   payment covering all eight years of employment.       The retirement option would

   have required a payment to Cooley of $37,754, while the eight-year option would

   have cost $90,477.43. Pl.’s Mem. Opp’n Mots. Summ. J. Ex. GG, ECF No. 96-33.

         After the Board’s May 2015 meeting, Scott Mullins, the School Board’s

   lawyer, called Cooley and told her that the Board had directed him “to make this

   right for Deb Colley.” Colley Dep. 92, 98, ECF No. 96-2. Mullin told her that he

   would send her a written proposal from the Board, which would “contain some

   legal oo-blah-do” and “will admit no fault, no blame,” but he never did. Id. at 92-

   93. Mullins had a vacation planned, and he did not meet with her until July, before

   the July Board meeting. They went over the clerk’s written calculations and the

   two options, and Mullins told her, “I can’t tell you exactly what the offer will

   contain,” but that “it would be likely more – closer to this number, indicating the

   lower number, than this number.” Id. at 96. Colley testified that she replied, “I am

   willing to accept anything in that range. And that’s where we left that meeting.”

   Id. After the Board’s July meeting, Mullins called Colley and told her that “the

   Board wasn’t going to do anything.” Id. at 209.



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         For her claim, Colley contends that the Board, through its lawyer, made a

   binding contractual offer to compensate her and that she “accepted the range of

   compensation offered for the underpayment.” Am. Compl. ¶ 73, ECF 63. In its

   Motion for Summary Judgment, the School Board asserts that the undisputed

   evidence establishes that no binding offer was ever made to Colley.

         An offer “identifies the bargained for exchange . . . and creates a power of

   acceptance in the offeree.” Chang v. First Colonial Sav. Bank, 410 S.E.2d 928,

   930-31 (Va. 1991). A valid offer constitutes an expression by the offeror to

   “certain definite terms.” Lacey v. Cardwell, 217 S.E.2d 835, 843 (Va. 1975). “A

   manifestation of willingness to enter into a bargain is not an offer if the person to

   whom it is addressed knows or has reason to know that the person making it does

   not intend to conclude a bargain until he has made a further manifestation of

   assent.” Restatement (Second) of Contracts § 26.

         It is clear from Colley’s own testimony that she knew that no definite offer

   had been made and any such offer required a decision by the Board. The Board

   may have decided to offer an amount below the range between the two options

   being considered, although “closer” to the lower number. The Board may have

   included legal language in the expected written agreement that may have been

   unacceptable to Colley. I find that the School Board is entitled to judgment as a

   matter of law on its contract claim.



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                              VI. STATUTE OF LIMITATIONS.

         The School Board argues that any damages occasioned by its alleged

   violations of the EPA or Title IX are limited by the period of limitations applicable

   to those statutes and seeks summary judgment in its favor as to any such excess

   damages. Colley’s Title IV claim is governed by Virginia’s two-year period of

   limitations for personal injury causes of action. Wilmink v. Kanawha Cty. Bd. of

   Educ., 214 F. App’x 294, 295-96 (4th Cir. 2007) (unpublished). An action under

   the EPA is subject to a two-year period of limitations, or three years if the violation

   is willful. 29 U.S.C. § 255(a). The School Board does not contend that either of

   Colley’s remaining causes of action is barred by the statute of limitations, but only

   that she cannot recover any damages prior to two years before the filing of her

   action on March 7, 2017, or at most, three years prior thereto if she proves a willful

   violation of the EPA. In other words, the School Board concedes that the lawsuit

   was timely filed, but that the applicable statutes of limitation constrain the extent

   of any damages awarded.

         The School Board did not assert a statute of limitations defense in its

   Answer and the first mention of this affirmative defense came in its Motion for

   Summary Judgment. Accordingly, Colley contends that the defense is waived.

   However, an affirmative defense is not automatically waived when first raised in a

   pretrial dispositive motion, “but requires a showing of prejudice or unfair



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   surprise.” Brinkley v. Harbour Recreation Club, 180 F.3d 598, 612 (4th Cir.

   1999). This statute of limitations defense was raised and argued by the School

   Board’s codefendants. Mullins & Barton Answer ¶ 32, ECF No. 31; Mullins &

   Barton Br. Supp. Mot. Summ. J. 15, ECF No. 90. Moreover, Colley’s counsel had

   the opportunity to present oral argument on the issue, and did so. The issue is

   entirely one of law, and accordingly the fact that discovery is closed cannot affect

   the outcome of this defense. There thus has been no showing of prejudice or

   surprise.

         Accordingly, I find that the statute of limitations defense has not been

   waived by the School Board.

         On the merits, I agree with the School Board that in an employment action

   involving an alleged continuous and systemic violation, such as here, the statute of

   limitations constrains the plaintiff from seeking compensatory damages incurred

   beyond the reach of that period. See Nealon v. Stone, 958 F.2d 584, 591 n.5 (4th

   Cir. 1992). In Nealon, the plaintiff, a female federal employee, claimed that the

   government had made a discriminatory initial classification decision as to her

   salary grade back in 1981, adversely affecting her pay thereafter. She did not file

   suit until 1989. The district court dismissed her EPA claim as barred by the statute

   of limitations but on appeal the Fourth Circuit found that she was entitled to

   equitable tolling of the statute. The court noted that “Nealon is limited, however,



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   to recovering only those damages that accrued during the three years prior to filing

   suit under section 255(a) of the EPA.” Id.; see also Brewster v. Barnes, 788 F.2d

   985, 993 (4th Cir. 1986) (holding that where plaintiff filed EPA suit on April 16,

   1980, she was entitled to recover back pay only from April 16, 1978, because of

   the two-year statute of limitations, even though her salary disparity started July 1,

   1977); Ghayyada v. Rector & Visitors of the Univ. of Va., No. 3:11-cv-00037,

   2011 WL 4024799, at *7 (W.D. Va. Sept. 12, 2011) (holding that while continuing

   discrimination theory applies to EPA claims, “a plaintiff is limited only to those

   damages that accrued during the two- or three-year period prior to filing suit.”);

   Vereen v. Woodland Hills Sch. Dist., No. CV-06-462, 2008 WL 794451, at *23

   (W.D. Pa. Mar. 24, 2008) (holding that “a plaintiff’s recovery under the Equal Pay

   Act is limited to damages resulting from unequal pay within the applicable

   limitations period.”).

         This principle is also followed in other civil actions involving continuing

   violations. For example, in Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392

   U.S. 481, 495 (1968), an antitrust case, the Court held that the plaintiff was entitled

   to damages under “the greatest retrospective reach permitted under the applicable

   statute of limitations.” In a § 1983 case, “[a] continuing violation extends the

   period of time allowed to file the original complaint — i.e. toll the running of the

   limitations period — but does not extend the period for which plaintiff may



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   recover damages.” Dupree v. Hous. Auth. of Kansas City, No. 89-2244-V, 1991

   WL 12819, at *6 (D. Kan. Jan. 11, 1991).

         The rational for the application of the statute of limitations to limit damages,

   even if it does not bar the cause of action itself, is based upon the purposes of

   limitations. They require plaintiffs to bring actions before the facts are stale and

   difficult to determine, and to allow defendants justifiable repose.           “To allow

   damages for the entire period . . . would frustrate both of these purposes.” Kuhnle

   Bros., Inc. v. Cty. of Geauga, 103 F.3d 516, 522 (6th Cir. 1997)

         I will grant the School Board’s motion, limiting the extent of damages

   recoverable.12

                                      VII. CONCLUSION.

         For the reasons stated, it is ORDERED as follows:

         1. The Motion for Summary Judgment by Rocky Barton and Susan Mullins,

   ECF No. 89, is GRANTED. The Clerk is directed to terminate these defendants as

   parties to this action; and

         2. The Motion for Summary Judgment on Behalf of Defendants Dickenson

   County School Board, Haydee Robinson, John Skeen, Don Raines, and R.E.

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              The School Board also seeks summary judgment that it did not willfully violate
   the EPA, thus limiting its potential damages. A willful violation occurs when an
   employer knew, or showed reckless disregard for the fact, that its conduct was prohibited,
   and was not merely negligent. McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133
   (1988). I find under the present record that the jury must determine whether an EPA
   violation, if it occurred, was willful.

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   Nickles, ECF No. 91, is GRANTED IN PART AND DENIED IN PART;              It is

   GRANTED as to Count Three and Count Four. It is DENIED as Count One and

   Count Two. It is GRANTED IN PART AND DENIED IN PART as to damages

   sought under Count One and Count Two, as explained herein. The Clerk is

   directed to terminate defendants Haydee Robinson, John Skeen, Don Raines, and

   R.E. Nickles as parties to this action.


                                             ENTER: September 6, 2018

                                             /s/ James P. Jones
                                             United States District Judge




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